                                                                                                        11-1-1.0 II• \-01 I IVO-


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                                                                                               GWINNETT COUNTY, GEORGI
                                                                                                       23-C-05602-S
                                                                                                     8/7/2023 3:05 PP
                                                                                                  TIANA P. GARNER,CLER
                         IN THE STATE COURT OF GWINNETT COUNTY
                                    STATE OF GEORGIA

PAUL BOGLE,

                 Plaintiff,
V.                                                              Civil Action File No.

WAL-MART STORES EAST,LP, JOHN                                   Jury Trial Demand
JOHN DOE No. 1 and JOHN DOE No. 2,                                           23-C-05602-S1       •

                 Defendants.

                                               COMPLAINT

         COMES NOW,Paul Bogle (hereinafter referred to as "Plaintiff'), Plaintiff herein and files this

Complaint against Defendant, Wal-Mart Stores East, LP,(hereinafter referred to as "Defendant").

                                                      1.

         Plaintiff Paul Bogle is a resident of the State of Georgia and is subject to the jurisdiction of this

Court.

                                                      2.

         Defendant Wal-Mart Stores East, LP, is a for profit corporation which at all material times,

conducted business in the state of, Georgia, Gwinnett County,and is subject to the jurisdiction and venue

of this Court.

                                                      3.

         Defendant Wal-Mart Stores East, LP,is a for profit limited partnership company operating under

the laws ofthe State of Georgia. It is subject to the jurisdiction and venue ofthis court. It may be served

by and through its Registered Agent, The Corporation Company, 106 Colony Park Drive Ste. 800-B,

Cumming, GA,30040, Forsyth County.

                                                      4.

         Defendant John Doe No. 1 Was an employee of Defendant Wal-Mart Stores East, LP on the date

of the incident alleged herein. Plaintiff will substitute the correct party name, should that become


                                                                                        Exhibit A
necessary, accordingly pursuant to OCGA § 9-11-10, et seq. and any other applicable provision of the
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Georgia Civil Practice Act.

                                                    5.

       Defendant John Doe No. 2 was an independent contractor or subcontractor of Defendant Wal-

Mart Stores East, LP on the date of the incident alleged herein. Plaintiff will substitute the correct party

name, should that become necessary, accordingly pursuant to OCGA § 9-11-10, et seq. and any other

applicable provision ofthe Georgia Civil Practice Act.

                                                    7.

       Venue and jurisdiction as to this matter are proper in this Court.

                                                    8.

       On October 29,2021, Wal-Mart Stores East, LP, was the owner operator of a Wal-Mart Store

located at 4375 Lawrenceville Highway, Tucker, Georgia 30084.

                                                    9.

       On October 29, 2021, Plaintiff, Paul Bogle, was an invitee/patron/customer on the premises of

Defendant's Wal-Mart Store, located at 4375 Lawrenceville Highway,Tucker, Georgia 30084, when he

was caused to slip and fall as a result of water allowed to accumulate on the ground/floor at the front

door, that was leaking from the roof ofthe store.

                                                    10.

       At all times relevant, defendant owed a duty to the public and its patrons to exercise reasonable

care and maintain safe conditions on its premises. Defendant knew,or in the exercise ofreasonable care,

should have known, ofthe hazardous condition or warned Plaintiff ofthe unsafe conditions.

                                                    1 1.

       As a result of the negligence of Defendant Wal-Mart Sores East, LP, Plaintiff suffered bodily

injury, pain and suffering, mental anguish, loss of enjoyment of life, medical treatment, medical

expenses, and loss of income.

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                                      COUNT I — NEGLIGENCE

                                                     12.

        Plaintiff, Paul Bogle, realleges and reavers the allegations made in Paragraphs 1 - 11 as if fully

restated herein.

                                                     13.

        Defendants' failure to maintain safe conditions and failure to provide notice or warn the patrons

ofthe hazardous conditions described above constitutes negligence.

                                                     14.

        Defendant Wal-Mart Stores East, LP is responsible for the premises and maintaining safe

conditions for invitee/patrons due to the superior knowledge rule.

                                                     15.

        As a direct result of the Defendants negligence to maintain safe and secure conditions, Plaintiff

slipped and fell, causing him to suffer severe and permanent injuries.

                                                     16.

       Defendants violated OCGA § 51-3-1, which establishes that a property owner is liable to invitees

for injuries caused by failure to maintain safe premises, conduct was negligentper se.

                                                    17.

       Defendants' negligence caused the unsafe conditions described above at said time and place and

caused plaintiff to suffer physical injuries to his body.

                                                    18.

       As a result of Defendants negligent conduct described above, Plaintiff was required to undergo

necessary medical treatment for the injuries sustained.




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         COUNT II— LIABILITY OF DEFENDANT WAL-MART STORES EAST,LP

                                                     19.

        Plaintiff, Paul Bogle, realleges and reavers the allegations made in Paragraphs 1 - 18 as if fully

restated herein.

                                                     20.

        By virtue of Defendant's negligence, Defendant Wal-Mart Stores East, LP is liable to the

Plaintiff, for the costs associated Plaintiff's medical treatment related to the injuries sustained.

                                                     21.

       Further, as a result of Defendant Wal-Mart Stores East, LP's negligent conduct causing, without

warning, the unsafe conditions described above, Plaintiff has suffered past, present and future pain and

suffering, permanent injuries, as well as other losses.

                                                     22.

       By virtue ofDefendant Wal-Mart Stores East, LP's negligence, Defendant Wal-Mart Stores East,

LP, is liable to the Plaintiff, for an amount to make Plaintiff whole for his, past, present and future pain

and suffering which may well be permanent, as well as other losses.

                                                     23.

       Plaintiff has suffered lost wages and other tangible losses due to the negligence of Defendant

Wal-Mart Stores East, LP.

                                                     24.

       By virtue of Defendant Wal-Mart Stores East, LP's negligence, Defendant Wal-Mart Stores East,

LP is liable to the Plaintiff, for an amount to make Plaintiff whole for his lost wages and, possibly, other

tangible losses.

                                                     25.

       By virtue of the conduct of Defendant Wal-Mart Stores East, LP's negligence, in violation of

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OCGA § 51-3-1, failure to maintain a safe premises for invitees, Defendant Wal-Mart Stores East, LP,

was negligentper se. Defendant Wal-Mart Stores East,LP is liable to the Plaintifffor the costs associated

Plaintiff's medical treatment related to the injuries sustained.

                                                    26.

        Further, as a result of the negligence of Defendant Wal-Mart Stores East, LP, Plaintiff, has

suffered past, present and future pain and suffering which may well be permanent,as well as other losses.

                                                    27.

       By virtue of Defendant Wal-Mart Stores East, LP's negligence,they are liable to the Plaintiff,for

an amount to make Plaintiff whole for, past, present and future pain and suffering which may well be

permanent, as well as other losses.

                                                    28.

       Plaintiff has suffered lost wages and, possibly, other tangible losses due to the Defendants

negligent conduct.

                                                    29.

       By virtue of Defendant Wal-Mart Stores East, LP's failure to maintain safe and secure premise

for invitees, they are liable to the Plaintiff, for an amount to make Plaintiff whole for lost wages and,

possibly, other tangible losses due to the Defendants negligence.

                   COUNT III — LIABILITY OF DEFENDANT JOHN DOE NO.1

                                                    30.

       Plaintiff Paul Bogle realleges and reavers the allegations made in Paragraphs 1- 29 as if fully

restated herein.

                                                    31.

       Defendant John Doe No. 1 was employed by Defendant Wal-Mart Stores East, LP,at the time

ofthe incident, October 29, 2021.

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                                                    32.

       Defendant John Doe No. 1 was in the scope and course ofhis/her/its employment with Defendant

Wal-Mart Stores East, LP, as the manager on-sight at the time of the subject incident. At all times

relevant, defendant owed a duty to the public and its patrons to exercise reasonable care and maintain

safe conditions on its premises. Defendant John Doe No. 1, knew, or in the exercise of reasonable care,

should have known,ofthe hazardous condition or should have warned Plaintiff ofthe unsafe conditions.

                                                    33.

       Defendant John Doe No. 1 was an agent for Defendant Wal-Mart Stores East, LP due to his/her

on-sight management position with Defendant Wal-Mart Stores East, LP.

                                                    34.

       Defendant Wal-Mart Stores East, LP is responsible for the actions of Defendant John Doe No. 1

due to the doctrine ofrespondeat superior.

                                                    35.

       By virtue ofthe conduct of Defendant John Doe No. 1, in violation of OCGA § 51-3-1, failure to

maintain a safe premises for invitees, Defendant John Doe No. 1 was negligent per se. Both Defendant

Wal-Mart Stores East,LP and John Doe No. 1 are liable to the Plaintifffor the costs associated Plaintiff's

medical treatment related to the injuries sustained.

                                                    36.

       Further, as a result of the negligence of Defendant John Doe No. 1, as well as the negligence of

Defendant Wal-Mart Stores East, LP, Plaintiff, has suffered past, present and future pain and suffering

which may well be permanent, as well as other losses.

                                                    37.

       By virtue of Defendant John Doe No. l's negligence as well as the negligence of Defendant Wal-

Mart Stores East, LP,they are both liable to the Plaintiff, for an amount to make Plaintiff whole for, past,

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present and future pain and suffering which may well be permanent, as well as other losses.

                                                   38.

       Plaintiff has suffered lost wages and, possibly, other tangible losses due to the Defendants

negligent conduct.

                                                   39.

       By virtue of Defendant John Doe No. l's failure to maintain safe and secure premise for invitees

as well as the negligence of Defendant Wal-Mart Stores East, LP,they are both liable to the Plaintiff, for

an amount to make Plaintiff whole for lost wages and, possibly, other tangible losses due to the

Defendants negligence.



                   COUNT IV — LIABILITY OF DEFENDANT JOHN DOE NO.2

                                                   40.

       Plaintiff Paul Bogle realleges and reavers the allegations made in Paragraphs 1- 39 as if fully

restated herein.

                                                   41.

       Defendant John Doe No. 2 was employed as a contractor or subcontractor by Defendant Wal-

Mart Stores East, LP, at the time of the incident, October 29, 2021.

                                                   42.

       Defendant John Doe No.2 was in the scope and course of his/her/its employment with Defendant

Wal-Mart Stores East, LP,as a contractor or subcontractor at the time ofthe subject incident. At all times

relevant, defendant owed a duty to the public and its patrons to exercise reasonable care and maintain

safe conditions on its premises. Defendant John Doe No. 2, knew,or in the exercise ofreasonable care,

should have known,ofthe hazardous condition or should have warned Plaintiff ofthe unsafe conditions.



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                                                    43.

        Defendant John Doe No. 2 was an agent for Defendant Wal-Mart Stores East, LP due to his/her

contract position with Defendant Wal-Mart Stores East, LP.

                                                    44.

       Defendant Wal-Mart Stores East, LP is responsible for the actions of Defendant John Doe No.

2,due to the doctrine ofrespondeat superior.

                                                    45.

       By virtue ofthe conduct of Defendant John Doe No.2,in violation of OCGA § 51-3-1,failure to

maintain a safe premises for invitees, Defendant John Doe No. 2 was negligent per se. Both Defendant

Wal-Mart Stores East,LP and John Doe No.2 are liable to the Plaintifffor the costs associated Plaintiffs

medical treatment related to the injuries sustained.

                                                    46.

       Further, as a result of the negligence of Defendant John Doe No. 2, as well as the negligence of

Defendant Wal-Mart Stores East, LP, Plaintiff, has .tiffered past, present and future pain and suffering

which may well be permanent, as well as other losses.

                                                    47.

       By virtue of Defendant John Doe No. 2's negligence as well as the negligence of Defendant Wal-

Mart Stores East, LP,they are both liable to the Plaintiff, for an amount to make Plaintiff whole for, past,

present and future pain and suffering which may well be permanent, as well as other losses.

                                                    48.

       Plaintiff has suffered lost wages and, possibly, other tangible losses due to the Defendants

negligent conduct.

                                                    49.

       By virtue of Defendant John Doe No. 2's failure to maintain safe and secure premise for invitees

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as well as the negligence of Defendant Wal-Mart Stores East, LP,they are both liable to the Plaintiff, for

an amount to make Plaintiff whole for lost wages and, possibly, other tangible losses due to the

Defendants negligence.

                                                   50.

   WHEREFORE,Plaintiff Paul Bogle prays that this Honorable Court issue ajudgment against the

Defendants and in favor ofthe Plaintiff for:

   a. A summons and process be issued according to law against the Defendants.

   b. Any and all past, present and future medical bills for Plaintiff's, medical bills incurred as a result

       ofthe incident described herein as determined from the enlightened conscious ofthe jury;

   c. Any and all past, present and future physical, emotional, pain and suffering and any other

       damages to be decided by the enlightened conscience ofthe jury;

   d. Any and all lost wages and other tangible losses incurred by the Plaintiff;

   e. Any and all costs ofthis action;

   f. Any other such relief as this Honorable Court deems fit.


   This 7th day of August, 2023,

                                                             KANNER & PINTALUGA

                                                             /s/Robert L. Jenkins/s/
                                                             Robert L. Jenkins, Esq.
                                                             Attorney for Plaintiff
                                                             Georgia State Bar No. 390910

201 Peachtree St. NW,Suite 200
Atlanta, GA 30303
770 755 9663
866 641 4690
rienkins@kpattorney.com




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